Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 1 of 46




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-2680-NYW-SKC


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

         Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,

         Defendants.

   ________________________________________________________________________

               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
   ________________________________________________________________________

         Plaintiffs move for summary judgment pursuant to Fed.R.Civ.Proc. 56. As

   grounds for this motion, they state:

   I. INTRODUCTION

         Plaintiffs bring this Second Amendment challenge to the Ordinances (defined

   below) pursuant to the standard set forth in New York State Rifle & Pistol Ass’n, Inc.

   v. Bruen, 142 S. Ct. 2111 (2022). Challenges to arms bans such as this one are prime

   candidates for pre-trial resolution, because, as the Ninth Circuit recently held, such

                                             1
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 2 of 46




   challenges involve issues of so-called “legislative facts” (i.e., facts that have relevance

   to legal reasoning and the lawmaking process such as the formulation of a legal

   principle) rather than “adjudicative facts” (i.e., the facts of the particular case). Teter

   v. Lopez, 76 F.4th 938, 946–47 (9th Cir. 2023) (remanding for entry of summary

   judgment for Second Amendment plaintiffs). Indeed, each of the three major Supreme

   Court cases dealing with Second Amendment issues in recent years was decided on a

   bare motion to dismiss record. See D.C. v. Heller, 554 U.S. 570, 576 (2008); McDonald

   v. City of Chicago, Ill., 561 U.S. 742 (2010); and Bruen, 142 S. Ct. at 2125.

         In Bruen, the Court held that the framework for resolution of a Second

   Amendment case has two steps: (1) Does the plain text of the Second Amendment

   cover a plaintiff’s conduct? (2) If so, has the government demonstrated that its ban is

   consistent with the Nation’s historical tradition of firearm regulation? Id., 142 S.

   Ct. 2129-30. In this case, the plain text of the Second Amendment covers Plaintiffs’

   conduct in seeking to acquire and possess bearable arms. There is no historical

   tradition analogous to Defendants’ ban of arms commonly possessed by law-abiding

   citizens for lawful purposes. As in Heller and Bruen, the Court can easily make these

   determinations without a trial based on the summary judgment record assembled by

   the parties.

         This brief addresses Plaintiffs’ standing and the application of the Bruen

   standard to the Ordinances’ bans of called “assault weapons” and “large capacity

   magazines.” Plaintiffs note that the district court for the Southern District of

   California recently enjoined the State of California’s “assault weapon” and “large



                                               2
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 3 of 46




   capacity magazine” bans. Miller v. Bonta, 2023 WL 6929336 (S.D. Cal. Oct. 19, 2023)

   and Duncan v. Bonta, 2023 WL 6180472 (S.D. Cal. Sept. 22, 2023).1 Plaintiff’s

   respectfully urge the Court to adopt Judge Benitez’s extremely thorough and well-

   reasoned analysis and enjoin the Ordinances.

   II. STATEMENT OF UNDISPUTED MATERIAL FACTS

   A.     The Ordinances

   1.     Defendants are the Town of Superior (“Superior”), the City of Louisville

   (“Louisville”), the City of Boulder (“Boulder), and Boulder County (the “County”).

   2.     Superior, Louisville, Boulder, and the County shall be referred to collectively

   as the “Municipalities.”

   3.     The term “Superior Law” shall mean SUPERIOR, COLO., CODE ch. 10, art.

   IX (as adopted Jun. 7, 2022 in Ord. No. O-9, § 1). A copy of the Superior Law is

   attached as Exhibit A.

   4.     The term “Boulder Law” shall mean BOULDER, COLO., REV. CODE title 5,

   ch. 8 (as adopted Jun. 7, 2022 in Ord. Nos. 8494, 8525-29). A copy of the Boulder Law

   is attached as Exhibit B.

   5.     The term “County Law” shall mean BOULDER COUNTY, COLO.,

   ORDINANCES, Ord. No. 2022-5 (as adopted Aug. 2, 2022). A copy of the Boulder Law

   is attached as Exhibit C.




   1 The preliminary injunction entered in Duncan has been partially stayed. Duncan v. Bonta, 2023
   WL 6588623, at *2 (9th Cir. Oct. 10, 2023). However, in its one-paragraph consideration of the
   merits, the court engaged in practically no analysis of Judge Benitez’s decision.

                                                    3
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 4 of 46




   6.    The term “Louisville Law” shall mean LOUISVILLE, COLO., CODE title 9, ch.

   VIII (as adopted Jun. 7, 2022 in Ord. No. 1831-2022). A copy of the Louisville Law is

   attached as Exhibit D.

   7.    The term “Superior Ordinance” shall mean Sections 10-9-40 and 10-9-240 of

   the Superior Law as such apply to “assault weapons” and “large capacity magazines.”

   8.    The term “Boulder Ordinance” shall mean Sections 5-8-10 and 5-8-28 of the

   Boulder Law as such apply to “assault weapons” and “large capacity magazines.”

   9.    The term “County Ordinance” shall mean the portion of the County Law

   regarding “assault weapons” and “large capacity magazines.”

   10.   The term “Louisville Ordinance” shall mean Sections 9.84.010 and 9.86.010 of

   the Louisville Law as such apply to “assault weapons” and “large capacity

   magazines.”

   11.   The term “Ordinances” shall mean the Superior Ordinance, the Boulder

   Ordinance, the County Ordinance, and the Louisville Ordinance.

   12.   The term “AW Firearm” as used herein shall have the same meaning as

   “assault weapon” as that phrase is used in the Ordinances.

   13.   The term “LCM” as used herein means “large capacity magazine” as that

   phrase is used in the Ordinances.

   14.   Magazines with a capacity of over 10 rounds are not necessarily large capacity

   magazines. Walker Dec. ¶ 6. Many firearms come standard with such magazines. Id.

   “Assault weapon” is also a political term developed by anti-gun publicists. Stenberg




                                            4
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 5 of 46




   v. Carhart, 530 U.S. 914, 1001 n. 16 (2000) (Thomas, J., dissenting). Nevertheless, in

   this Motion, Plaintiffs will use the politically charged terms used in the Ordinances.

   15.   The Superior Ordinance, the Boulder Ordinance, and the Louisville Ordinance

   classify AW Firearms and LCMs as “illegal weapons.” Ex. A, 8; Ex. B, 13; Ex. D, 6.

   16.   The Superior Ordinance, the Boulder Ordinance, and the Louisville Ordinance

   make it a crime to knowingly possess, sell, or otherwise transfer an illegal weapon.

   Ex. A, 10; Ex. B, 14; Ex. D, 9.

   17.   The County Ordinance makes it a crime to manufacture, import, purchase, sell,

   or transfer any AW Firearm or LCM after August 2, 2022. Ex. C, 6, 7.

   18.   The Superior Ordinance, the Boulder Ordinance, and the Louisville Ordinance

   each have a provision for obtaining a “certificate of ownership” for an AW Firearm

   certifying that the AW Firearm was owned prior to July 1, 2022. Ex. A, 16; Ex. B, 16;

   Ex. D, 10.

   19.   Even if a person were to obtain a “certificate of ownership” for an AW Firearm,

   under these ordinances he or she would not be permitted to possess the firearm

   anywhere but their own property, at a gunsmith, or a firing range, and they would

   also be prohibited from possessing any AW Firearm acquired after July 1, 2022.

   Ex. A, 16-17; Ex. B, 17; Ex. D, 10-11.

   20.   The deadline for obtaining a “certificate of ownership” for an AW Firearm

   under the Superior, Boulder, and Louisville Ordinances was December 31, 2022.

   Ex. A, 16; Ex. B, 16; Ex. D, 10. There is no provision in the Ordinances for obtaining

   such a certificate after that date.



                                             5
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 6 of 46




   21.   The Superior Ordinance, the Boulder Ordinance, and the Louisville Ordinance

   provide that it is an affirmative defense to a prosecution for possession of an illegal

   weapon if the illegal weapon is an assault weapon accompanied by a valid certificate

   of ownership. Ex. A, 15; Ex. B, 15; Ex. D, 9.

   22.   None of the Ordinances has a provision for obtaining a certificate of ownership

   for an LCM; nor do any of the Ordinances provide for an affirmative defense for the

   possession of an LCM that was owned prior to a particular date.

   23.   In summary, the Superior, Boulder, and Louisville Ordinances make it illegal

   to possess an AW Firearm that a citizen owned prior to July 1, 2022, unless such

   citizen obtained a “certificate of possession” prior to December 31, 2022, and even

   then the citizen would not be permitted to use the AW Firearm for self-defense in

   public; and

   24.   the Superior, Boulder, and Louisville Ordinances make it illegal for any citizen

   to acquire an AW Firearm under any circumstances after July 1, 2022; and

   25.   the Superior, Boulder, and Louisville Ordinances make it illegal for a citizen

   to possess an LCM whether or not the citizen owned or possessed the LCM prior to

   any particular time; and

   26.   the County Ordinance makes it illegal to manufacture, import, purchase, sell,

   or transfer any AW Firearm or LCM in the unincorporated part of the County after

   August 2, 2022.

   B.    Standing




                                              6
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 7 of 46




   27.   Plaintiff Charles Bradley Walker is a resident of Superior and a law-abiding

   citizen of the United States. Walker Dec. ¶3. He challenges the Superior Ordinance.

   28.   Plaintiff James Michael Jones is a resident of Boulder and a law-abiding

   citizen of the United States. Jones Dec. ¶ 3. He challenges the Boulder Ordinance.

   29.   Plaintiff Martin Carter Kehoe is a resident of the unincorporated portion of the

   County and is a law-abiding citizen of the United States. Kehoe Dec. ¶ 3. He

   challenges the County Ordinance.

   30.   Plaintiffs Bryan LaFonte and Gordon Madonna are residents of Louisville and

   are law-abiding citizens of the United States. LaFonte Dec. ¶ 3; Madonna Dec. ¶ 3.

   They challenge the Louisville Ordinance.

   31.   Each of the individual Plaintiffs currently owns and possesses within the

   municipality in which he resides a number of firearms and firearm magazines, which

   he possesses and uses for a variety of lawful purposes, including target shooting and

   self-defense. Walker Dec. ¶ 7; Jones Dec. ¶ 7; Kehoe Dec. ¶ 7; LaFonte Dec. ¶ 7;

   Madonna Dec. ¶ 7.

   32.   Each of the individual Plaintiffs currently owns and possesses within the

   municipality in which he resides firearms that are considered AW Firearms under

   the Ordinances. Walker Dec. ¶ 8; Jones Dec. ¶ 8; Kehoe Dec. ¶ 8; LaFonte Dec. ¶ 8;

   Madonna Dec. ¶ 8.

   33.   The individual Plaintiffs desire to continue to own and possess these AW

   Firearms within such municipality and in their homes in particular. Id.




                                              7
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 8 of 46




   34.   The individual Plaintiffs also desire to be able to freely transfer these AW

   Firearms to others, including members of their family. Id.

   35.   Each of the individual Plaintiffs owns and possesses within the municipality

   in which he resides a number of LCMs. Walker Dec. ¶ 10; Jones Dec. ¶ 10; Kehoe

   Dec. ¶ 9; LaFonte Dec. ¶ 10; Madonna Dec. ¶ 10.

   36.   Each of the individual Plaintiffs has acquired AW Firearms in the past and

   would like to continue to be able to do so in the future and own and possess such AW

   Firearms in the municipality in which he resides. Walker Dec. ¶ 11; Jones Dec. ¶ 11;

   Kehoe Dec. ¶ 10; LaFonte Dec. ¶ 11; Madonna Dec. ¶ 11.

   37.   Each of the individual Plaintiffs has acquired LCMs in the past and would like

   to continue to be able to do so in the future and own and possess such LCMs in the

   municipality in which he resides. Walker Dec. ¶ 12; Jones Dec. ¶ 12; Kehoe Dec. ¶ 11;

   LaFonte Dec. ¶ 12; Madonna Dec. ¶ 12.

   38.   Many firearms, even those not considered AW Firearms under the Ordinances,

   come standard with an LCM. Walker Dec. ¶ 6, 13. Each of the individual Plaintiffs

   would like to continue to be able acquire such firearms and the LCMs that come

   standard with them and possess them within the municipality in which he resides.

   Walker Dec. ¶ 13; Jones Dec. ¶ 13; Kehoe Dec. ¶ 12; LaFonte Dec. ¶ 13; Madonna

   Dec. ¶ 13.

   39.   The enforcement of the Ordinances is currently stayed, but if the Ordinances

   were to become effective each of the individual Plaintiffs would refrain from acquiring

   AW Firearms and LCMs for fear of prosecution if he were to possess them within the



                                             8
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 9 of 46




   municipality in which he resides. Walker Dec. ¶ 14; Jones Dec. ¶ 14; Kehoe Dec. ¶ 13;

   LaFonte Dec. ¶ 14; Madonna Dec. ¶ 14.

   40.   Most of the individual Plaintiffs do not desire to obtain a certificate for any AW

   Firearm that they own, nor have they. Walker Dec. ¶ 9; Jones Dec. ¶ 9; LaFonte

   Dec. ¶ 9; Madonna Dec. ¶ 9.

   41.   In any event, the deadline for obtaining a certificate passed while this

   litigation has been pending and the Ordinances were stayed.

   42.   Thus, were the Superior, Boulder, and Louisville Ordinances to become

   effective, the Ordinances would require the Plaintiffs that reside within these

   municipalities immediately to dispossess themselves of their presently-owned AW

   Firearms within these municipalities (including from their homes). Walker Dec. ¶ 8;

   Jones Dec. ¶ 8; LaFonte Dec. ¶ 8; Madonna Dec. ¶ 8.

   43.   As set forth above, the Superior, Boulder, and Louisville Ordinances have no

   grandfather provision for LCMs. Thus were these Ordinances to become effective,

   they would require the Plaintiffs that reside within these municipalities immediately

   to dispossess themselves of these arms within these municipalities. Walker Dec. ¶ 12;

   Jones Dec. ¶ 12; Kehoe Dec. ¶ 11; LaFonte Dec. ¶ 12; Madonna Dec. ¶ 12.

   44.   Plaintiff Rocky Mountain Gun Owners shall be referred to herein as “RMGO,”

   and Plaintiff National Association for Gun Rights shall be referred to as “NAGR.”

   45.   Dudley Brown is the President of RMGO and NAGR. Brown Dec. ¶ 2.




                                             9
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 10 of
                                     46




  46.   RMGO     and    NAGR     are   nonprofit   membership     and   donor-supported

  organizations that seek to defend the right of all law-abiding individuals to keep and

  bear arms. Brown Dec. ¶ 3.

  47.   RMGO and NAGR have members who reside within each of the Municipalities,

  and RMGO and NAGR represent the interests of these members. Brown Dec. ¶ 4.

  48.   Specifically, RMGO and NAGR represent the interests of those of their

  members whose Second Amendment rights have been infringed by the Ordinances.

  Brown Dec. ¶ 5.

  49.   Brown has communicated with RMGO and NAGR members who reside in the

  Municipalities who have informed him that (a) they currently own and possess within

  the municipality in which they reside firearms that are considered AW Firearms

  under the Ordinances and they would like to continue to possess these firearms; (b)

  they have not obtained certificates of possession and do not intend to do so; and (c)

  they own and possess within the municipality in which they reside one or more LCMs.

  Brown Dec. ¶ 6.

  50.   All of these activities would be illegal if the Ordinances were effective.

  51.   Plaintiffs Jones, Kehoe, and Madonna are members of both RMGO and NAGR.

  Jones Dec. ¶ 2; Kehoe Dec. ¶ 2; Madonna Dec. ¶ 2. Plaintiffs LaFonte and Walker are

  members of RMGO. LaFonte Dec. ¶ 2; Walker Dec. ¶ 2.

  D.    Magazines Are Arms

  52.   Plaintiffs have designated Mark Passamaneck as an expert regarding two

  topics: (1) an estimate of the number of “assault weapons” and “large capacity



                                            10
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 11 of
                                     46




  magazines” in the United States; and (2) the operation and durability of these

  magazines.

  53.   Without a magazine, the operation of a semi-automatic firearm in semi-

  automatic firing mode is impossible. Passamaneck Declaration, 4-5.

  54.   A magazine is not merely a box in which ammunition is stored; rather, it is a

  dynamic component that performs a function in any semi-automatic firearm. Id.

  55.   The magazine holds cartridges under spring tension, and when a semi-

  automatic firearm is fired, the spring pushes another cartridge up for the bolt to push

  into the chamber so that it can be fired with the next pull of the trigger. Id.

  56.   If there is no magazine pushing cartridges up into the action, one by one, there

  is no ability to fire a subsequent cartridge due to a subsequent pull of the trigger,

  which is the defining characteristic of a semi-automatic weapon. Id.

  57.   Thus, without a magazine as a designed dynamic component, semi-automatic

  firearms would not exist. Id.

  E.    The AW Firearms Are in Common Use

  58.   The National Shooting Sports Foundation (“NSSF”), the firearms industry

  trade association, included the table on the following page in its 2022 Industry

  Intelligence Report (the “2022 NSSF Compilation”).




                                             11
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 12 of
                                     46




  59.   Defendants have designated Dr. Louis Klarevas as an expert in this matter.

  His report is attached as Exhibit E.

  60.   “Modern Sporting Rifle” as used in the NSSF Compilation is a firearm industry

  term for AR-15-platform and AK-47-platform firearms. Klarevas Report 11.

  61.   Based on the 2022 NSSF Compilation (and in particular the table set forth in

  paragraph 58), Mr. Passamaneck estimated the number of modern sporting rifles

  produced from 1990 to 2020 to be 24.4 million. Passamaneck Declaration, 7.

                                          12
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 13 of
                                     46




  62.    Dr. Klarevas also used the 24.4 million NSSF figure as the basis of his estimate

  of the number of “assault weapons” in the United States, citing the table set forth in

  paragraph 58. Klarevas Report, 11 (paragraph 14 and note 8). 2

  63.    Mr. Passamaneck attempted to estimate the number of AR-15-type rifles

  produced before 1990 and after 2020 (which would not be reflected in the table in

  paragraph 58) and arrived at a total estimate of 34 million. Passamaneck

  Declaration, 4, 8.

  64.    Plaintiffs are willing to stipulate to the lower number on which Dr. Klarevas

  based his estimate of the number of “assault weapons.” The parties agree that tens

  of millions of such weapons are in circulation in the United States.

  65.    The modern sporting rifle is the most-popular-selling centerfire semiautomatic

  rifle in the United States today according to the NSSF press release cited by Dr.

  Klarevas. Klarevas Report, 11, n.8.

  66.    Mr. Passamaneck agrees that millions of Americans own AR-15-style rifles and

  that it is the most popular rifle sold in America. Passamaneck Declaration, 3.

  F.     LCMs Are in Common Use

  67.    The NSSF Compilation contains the following table:




  2 Indeed, in Miller v. Bonta, 2023 WL 6929336, at *33 (S.D. Cal. Oct. 19, 2023), the court relied on

  Dr. Klarevas’ identical conclusions in finding “assault weapons” are in common use.

                                                    13
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 14 of
                                     46




  68.   Mr. Passamaneck cited this table for his lower-bound estimate of the number

  of LCMs in the United States of 159.8 million. Passamaneck Declaration, 3, 8.

  69.   Dr. Klarevas also cited to an NSSF report that contained this same table.

  Klarevas Report, 11, n.8, citing NSSF, Firearm Production in the United States

  with Firearm Import and Export Data, Industry Intelligence Report, 2020, available

  at https://bit.ly/3z67cBx.

  70.   Mr. Passamaneck opined that the number of LCMs is certainly higher than

  reflected in the NSSF Compilation (perhaps as high as 350 million), but the NSSF

  data is a reliable lower bound. Passamaneck Declaration, 4, 8.

  G.    Citizens Use Their Firearms Even if They do Not Fire Them

                                          14
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 15 of
                                     46




  71.    Plaintiff Gordon Madonna was a law enforcement officer for over 40 years.

  Madonna Dec. ¶ 15.

  72.    During his 40-plus-year career as a police officer, he was always armed while

  he was on duty. Id. ¶ 16. He discharged his firearm against a suspect only once during

  his career. Id. ¶ 17.

  73.    During his career, he was constantly armed for the purpose of both actual and

  possible confrontation with an assailant. Id. ¶ 18.

  74.    Thus, during his career, he was constantly using his firearm for self-defense

  even when he was not discharging it or brandishing it. Id.

  75.    It is not true that he never used his firearm during 40-plus years except that

  one moment when he discharged it against a suspect. Id. ¶ 19.

  III. THE ELEMENTS OF STANDING

         To establish standing under Article III of the Constitution, a plaintiff must

  show three elements: (1) He has suffered an “injury in fact”; (2) The injury is fairly

  traceable to the challenged action of the defendant; and (3) It is likely that the injury

  will be redressed by a favorable decision. N. New Mexico Stockman’s Ass’n v. United

  States Fish & Wildlife Serv., 30 F.4th 1210, 1219 (10th Cir. 2022) (internal citations

  and quotation marks omitted). Defendants cannot reasonably argue that Plaintiffs

  have failed to establish causation and redressability. The Ordinances require them

  to divest themselves of AW Firearms and LCMs and/or prohibit them from acquiring

  additional ones. There is obviously a causal connection between the injury they allege

  and the existence of the Ordinances. See Aptive Env’t, LLC v. Town of Castle Rock,



                                             15
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 16 of
                                     46




  959 F.3d 961, 978 (10th Cir. 2020). Moreover, there is no dispute that enjoining the

  enforcement of the Ordinances redresses Plaintiffs’ injuries by removing the alleged

  violation of their Second Amendment rights. Id. Since the existence of the second and

  third elements of standing cannot reasonably be disputed, Plaintiffs will focus their

  discussion on the first element, i.e., “injury in fact.”

         Before considering the issue of injury in fact, it is important to recognize that

  to establish standing it is necessary only to demonstrate that it is arguable that a

  constitutional right has been abridged. Peck v. McCann, 43 F.4th 1116, 1129 (10th

  Cir. 2022). The standing inquiry must not be conflated with evaluation of the merits.

  “For purposes of standing, the question cannot be whether the Constitution, properly

  interpreted, extends protection to the plaintiff’s asserted right or interest. If that were

  the test, every losing claim would be dismissed for want of standing.” Citizen Ctr. v.

  Gessler, 770 F.3d 900, 910 (10th Cir. 2014) (quoting Initiative & Referendum Inst. v.

  Walker, 450 F.3d 1082, 1092 (10th Cir. 2006) (en banc)). “Rather, we must assume for

  purposes of the standing inquiry that each claim is legally valid.” Id. Courts have

  held that so-called “assault weapons” and “large capacity magazines” are “arms”

  protected by the Second Amendment. See, e.g., Barnett v. Raoul, 2023 WL 3160285,

  at *8, *10 (S.D. Ill. Apr. 28, 2023). Since a court has actually held that arms such as

  those at issue in this case are constitutionally protected, for standing purposes it is

  at least arguable that they are protected.

         Finally, Plaintiffs have submitted declarations in support of their standing.

  For purposes of this motion for summary judgment, the specific facts set forth in those



                                              16
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 17 of
                                     46




  declarations must be “taken to be true.” Rio Grande Found. v. Oliver, 57 F.4th 1147,

  1162 (10th Cir. 2023) (internal citation and quotation marks omitted).

  IV. PLAINTIFFS HAVE SUFFERED AN INJURY IN FACT

  A.     Dispossession of Arms Protected by the Second Amendment
         Constitutes Injury in Fact Per Se

         Were the Superior, Boulder, and Louisville Ordinances to become effective, the

  ordinances would require the Plaintiffs that reside within these municipalities

  immediately to dispossess themselves of their presently-owned AW Firearms within

  these municipalities (including their homes). UMF 15, 16, 18, 20, 21, 23, 32, 40, 41,

  42.3 Were the Superior, Boulder, and Louisville Ordinances to become effective, the

  ordinances would require the Plaintiffs that reside within these municipalities

  immediately to dispossess themselves of their presently owned LCMs within these

  municipalities (including their homes). UMF 15, 16, 22, 35, 43.

         Recently, in Teter v. Lopez, 76 F.4th 938 (9th Cir. 2023), the Ninth Circuit

  considered a Second Amendment challenge to a state statute that banned “butterfly

  knives.” The plaintiffs submitted evidence in their motion for summary judgment

  that they had once owned such knives but were forced to dispose of the knives by the

  statute. 76 F.4th at 942. The plaintiffs argued that the forced dispossession of their

  arms combined with their inability to acquire replacements constituted a present

  injury in fact. Id., at 943. The state argued that the plaintiffs had not established

  standing for a “pre-enforcement challenge.” Id. The court agreed with plaintiffs,


  3 “UMF” refers to the above “Statement of Undisputed Material Facts.” Such facts will be referred to

  by paragraph number. For example, paragraph 1 of the Statement of Undisputed Material Facts will
  be referred to as “UMF 1.”

                                                   17
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 18 of
                                     46




  holding that “a threat of prosecution is unnecessary to prove standing where the

  plaintiffs’ injury is not a hypothetical risk of prosecution but rather actual, ongoing

  harm resulting from their adherence to the challenged statute.” Teter v. Lopez, 76

  F.4th 938, 944, n.2 (9th Cir. 2023) (internal citation and quotation marks omitted;

  cleaned up). In this case, the Superior, Boulder, and Louisville Plaintiffs have

  demonstrated standing by their actual, ongoing harm resulting from their adherence

  to the challenged Ordinances were they to become effective and require them to give

  up actual possession of their constitutionally protected arms within the

  Municipalities (and especially their homes).

  B.    Prohibiting the Acquisition of Arms Protected by the Second
        Amendment Constitutes Injury in Fact Per Se

        All of the Ordinances, were they to become effective, make it illegal to acquire

  arms within the Municipalities after July 1, 2022 (Superior, Boulder, Louisville) or

  August 2, 2022 (the County). UMF 19, 24, 17, 26.

        In Jackson v. City & Cnty. of San Francisco, 746 F.3d 953 (9th Cir. 2014), the

  plaintiffs sought to enjoin San Francisco’s ban on the sale of hollow-point

  ammunition. 746 F.3d at 958. San Francisco argued that Ms. Jackson had “not

  suffered an injury in fact because she could easily obtain hollow-point ammunition

  outside San Francisco.” Id. at 967. The Ninth Circuit rejected this argument and held

  the plaintiff established an injury in fact because she alleged that the Second

  Amendment provided her with a legally protected interest to purchase hollow-point

  ammunition, and that but for the ban, she would do so within San Francisco. Id. Ms.

  Jackson had not been threatened with prosecution under the ban – which prohibited

                                            18
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 19 of
                                     46




  only the transfer of such ammunition in San Francisco, not its possession. The court

  required no proof of such a threatened prosecution before concluding that she had

  suffered a cognizable injury.

        In Teter v. Lopez, 76 F.4th 938 (9th Cir. 2023), the plaintiffs’ summary

  judgment declarations stated that but for the statutory ban they would acquire the

  banned knives. Id., at 944. Relying on Jackson, the court held that these

  declarations were sufficient to establish standing even without a concrete plan or a

  threat of prosecution. Id. at 945. See also, Barnett v. Raoul, 2023 WL 3160285, at *2

  (S.D. Ill. Apr. 28, 2023) (“a plaintiff who wishes to engage in conduct that is

  arguably protected by the Constitution, but criminalized by a statute, successfully

  demonstrates an immediate risk of injury”).

  C.    Even Under a Pre-Enforcement Analysis the Individual Plaintiffs
        Have Standing

        As set forth above, it is not necessary to engage in a pre-enforcement analysis

  because Plaintiffs have established a present injury in fact. Even with such an

  analysis, however, Plaintiffs have established standing. In a pre-enforcement

  challenge, a plaintiff can establish injury sufficient to bring a constitutional

  challenge to a law by (1) showing an intention to engage in a course of conduct that

  is (2) arguably affected with a constitutional interest, but is (3) proscribed by

  statute, and (4) there exists a credible threat of prosecution thereunder. Peck v.

  McCann, 43 F.4th 1116, 1129 (10th Cir. 2022) (internal citation and quotation

  marks omitted); Teter v. Lopez, 76 F.4th 938, 945 (9th Cir. 2023).

        1.     Plaintiffs Intend to Engage in the Proscribed Conduct

                                             19
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 20 of
                                     46




        The Plaintiffs are law-abiding citizens who reside in the Defendant

  Municipalities. UMF 27-30. They currently own within the Municipalities a number

  of firearms and firearm magazines which they possess and use for a variety of

  lawful purposes, including target shooting and self-defense. UMF 31. Each of the

  individual Plaintiffs currently owns and possesses firearms that are considered AW

  Firearms under the Ordinances. UMF 32. They desire to continue to own and

  possess these AW Firearms within the Municipalities, and in their homes in

  particular. UMF 33. They also desire to be able to freely transfer these AW

  Firearms to others, including members of their families. UMF 34. Each individual

  Plaintiff also owns and possesses a number of LCMs. UMF 35.

        Each Plaintiff has acquired AW Firearms and LCMs in the past and would

  like to continue to be able to do so in the future and own and possess such arms.

  UMF 36, 37. Many firearms, even those not considered AW Firearms under the

  Ordinances, come standard with an LCM, and each Plaintiff would like to continue

  to be able acquire such firearms and the LCM that comes standard with them and

  possess them. UMF 35. The enforcement of the Ordinances is currently stayed, but

  if the Ordinances were to become effective the individual Plaintiffs would refrain

  from acquiring AW Firearms and LCMs for fear of prosecution if they were to

  possess them. UMF 39.

        Most of the individual Plaintiffs do not desire to obtain a certificate for any AW

  Firearm that they own, and in any event, the deadline for obtaining a certificate

  passed while this litigation has been pending and the Ordinances were stayed.



                                            20
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 21 of
                                     46




  UMF 40-41. Thus, were the Superior, Boulder, and Louisville Ordinances to become

  effective, these Ordinances would require the Plaintiffs that reside within these

  municipalities immediately to dispossess themselves of their presently owned AW

  Firearms or risk prosecution for possessing them. UMF 42.

        The Superior, Boulder, and Louisville Ordinances have no grandfather

  provision for LCMs. UMF 43. Thus, the effect of these Ordinances, were they to

  become effective, would be to require the Plaintiffs that reside within these

  municipalities immediately to dispossess themselves of these arms within these

  municipalities or risk prosecution for possessing them. Id.

        Plaintiffs are not required to have a definite plan to break the law to

  demonstrate they intend to engage in the proscribed conduct. Courts do not require

  plaintiffs to “risk actual prosecution before challenging an allegedly

  unconstitutional” statute. United States v. Supreme Ct. of New Mexico, 839 F.3d

  888, 901 (10th Cir. 2016) (cleaned up). Instead, a plaintiff in a suit for prospective

  relief can satisfy the requirement that their claim of injury be “concrete and

  particularized” by (1) evidence that in the past they have engaged in the type of

  conduct affected by the challenged government action; (2) evidence that they have a

  present desire, though no specific plans, to engage in the conduct; and (3) a

  plausible claim that they presently have no intention to do so because of a credible

  threat that the statute will be enforced. Peck v. McCann, 43 F.4th 1116, 1129–30

  (10th Cir. 2022) (internal citation and quotation marks omitted). Peck arose in the

  First Amendment context but after Bruen that is a distinction that makes no



                                             21
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 22 of
                                     46




  difference. In Bruen, the Court held that the constitutional right to bear arms “is

  not a second-class right, subject to an entirely different body of rules than the other

  Bill of Rights guarantees.” Id., 142 S. Ct. at 2156 (citation and quotation marks

  omitted). The Court specifically held that the Second Amendment is directly

  analogous to the First Amendment and imposes similar burdens on the government.

  Id., 142 S. Ct. at 2130.4

         Applying the Peck framework to this case, Defendants cannot plausibly

  dispute that in the past Plaintiffs have engaged in the type of conduct affected by

  the Ordinances. They have purchased and possessed AW Firearms and LCMs. Nor

  is there any reasonable dispute that they will continue to do so, and their conduct

  would become illegal if the Ordinances were to become effective. Finally, because

  they have frequently engaged in such conduct in the past, their assertion that they

  will engage in the conduct in the future is plausible, as is their claim that they

  would not break the law because they fear prosecution. As the Ninth Circuit held in

  Teter, this is sufficient to show the requisite injury. Id., 76 F.4th 938, 946 (9th Cir.

  2023) (“exact dates and times are not necessary;” it is sufficient that plaintiffs

  affirmatively intend to possess the banned arms if criminal prohibition is

  invalidated).

         2.       Plaintiffs’ Conduct is Arguably Affected with a Constitutional
                  Interest




  4 See also Ezell v. City of Chicago, 651 F.3d 684, 702–03, 706 (7th Cir. 2011) (“Both Heller and

  McDonald suggest that First Amendment analogies are more appropriate, and on the strength of
  that suggestion, we and other circuits have already begun to adapt First Amendment doctrine to the
  Second Amendment context.” (internal citation omitted)).

                                                    22
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 23 of
                                     46




          A federal court has held that laws banning arms such as AW Firearms and

  LCMs violate the Second Amendment. See, Barnett v. Raoul, 2023 WL 3160285, at

  *8, *10 (S.D. Ill. Apr. 28, 2023). Since a court has actually held that these arms are

  constitutionally protected, for standing purposes it is at least arguable that they are

  protected.

          3.    Plaintiffs’ Conduct is Proscribed by the Ordinances

          Defendants cannot dispute that the Ordinances, were they effective, would

  make it a criminal offense for the Plaintiffs to possess, acquire, or transfer the banned

  arms.

          4.    There Exists a Credible Threat of Prosecution

          As noted above, a plaintiff need not risk actual prosecution. Bronson v.

  Swensen, 500 F.3d 1099, 1107 (10th Cir. 2007). Moreover, it is unclear what it would

  mean to risk prosecution in this context because the Ordinances are stayed. Surely,

  a Plaintiff does not lose standing to challenge a law because it is stayed and therefore,

  he has no risk of prosecution for continuing to engage in conduct that violates the

  law. Instead, standing exists if there is “an objectively justified fear of real

  consequences” if the Ordinances were to go into effect. Peck, 43 F.4th at 1132 (citation

  and internal quotation marks omitted). In Rocky Mountain Gun Owners v. Polis, 2023

  WL 5017253 (D. Colo. Aug. 7, 2023), the plaintiffs brought a Second Amendment

  challenge to a Colorado statute that criminalized the acquisition of arms for adults

  18 to 20 years old. This Court held that the individual plaintiffs had standing because

  they would acquire the arms but for the prohibition of the statute and there was “no



                                             23
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 24 of
                                     46




  evidence of an assurance that the statute will not be enforced” against them. Id. at

  *7 (citation omitted).

  D.    Standing Has Been Found in Similar Cases Post-Bruen

        As noted above, this Court found standing to exist in a similar case in Rocky

  Mountain Gun Owners v. Polis, 2023 WL 5017253 (D. Colo. Aug. 7, 2023). Similarly,

  in Barnett v. Raoul, 2023 WL 3160285, at *2 (S.D. Ill. Apr. 28, 2023), the court held

  the plaintiffs had standing to bring a Second Amendment challenge to Illinois’

  magazine ban. See also Bevis v. City of Naperville, Illinois, 2023 WL 2077392, at *5

  (N.D. Ill. Feb. 17, 2023) (same); Sullivan v. Ferguson, 636 F. Supp. 3d 1276, 1286

  (W.D. Wash. 2022) (standing to challenge Washington’s magazine ban); Jackson v.

  City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014) (standing to

  challenge ammunition ban); and Teter v. Lopez, 76 F.4th 938, 947 (9th Cir. 2023).

  E.    RMGO and NAGR Have Standing

        An association may bring claims on behalf of its members so long as (a) its

  members would otherwise have standing to sue in their own right; (b) the interests

  it seeks to protect are germane to the organization’s purpose; and (c) neither the

  claim asserted nor the relief requested requires the participation of individual

  members in the lawsuit. N. New Mexico Stockman’s Ass’n v. United States Fish &

  Wildlife Serv., 30 F.4th 1210, 1219 (10th Cir. 2022) (internal citations and quotation

  marks omitted).

        RMGO      and      NAGR   are   nonprofit   membership   and   donor-supported

  organizations that seek to defend the right of all law-abiding individuals to keep and



                                            24
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 25 of
                                     46




  bear arms. UMF 46. Thus, the interests they seek to protect are germane to the

  organizations’ purposes.

        RMGO and NAGR have members who reside within each of the Municipalities.

  and RMGO and NAGR represent the interests of these members. UMF 47, 48. Dudley

  Brown is the president of both organizations. UMF 45. He has communicated with

  RMGO and NAGR members who reside in the Municipalities who have informed him

  that (a) they currently own and possess within the municipality in which they reside

  firearms that are considered AW Firearms under the Ordinances and they would like

  to continue to possess these firearms; (b) they have not obtained certificates of

  possession and do not intend to do so; and (c) they own and possess within the

  municipality in which they reside one or more LCMs. UMF 49. Of course, all of these

  activities would be illegal if the Ordinances were to become effective, and thus these

  members would have standing in their own right. However, their individual

  participation is not necessary because RMGO and NAGR are seeking declaratory and

  prospective relief only (as opposed to damages). Finally, RMGO and NAGR have

  specifically identified some of their members who reside in the Municipalities.

  UMF 51.

        Even if there were some question regarding RMGO’s and NAGR’s associational

  standing, there is no need for the Court to address their standing separately from

  that of the individual Plaintiffs. “[T]he presence of one party with standing is

  sufficient to satisfy Article III’s case-or-controversy requirement,” and the Court may

  proceed to the merits without determining the other Plaintiffs’ standing. Rocky



                                            25
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 26 of
                                     46




  Mountain Peace & Just. Ctr. v. United States Fish & Wildlife Serv., 40 F.4th 1133,

  1153 (10th Cir. 2022) (quoting Rumsfeld v. Forum for Acad. & Inst. Rts., Inc., 547

  U.S. 47, 52 n.2 (2006)); see also Campbell v. Buckley, 203 F.3d 738, 740 n.1 (10th Cir.

  2000) (“Because the individual plaintiffs ... have standing, and because ... [they]

  jointly raise the same substantive arguments on appeal, ... there is no need to address

  the standing of the [other] plaintiffs.”).

  F.     Summary: Plaintiffs Have Standing

         For the foregoing reasons, there is no genuine dispute concerning the material

  facts supporting Plaintiffs’ standing, and those facts are sufficient to establish their

  standing to bring their constitutional challenge to the Ordinances.

  IV. STANDARD OF REVIEW

  A.     Summary Judgment Standard

         Summary judgment must be granted if there is no genuine dispute as to any

  material fact and the moving party is entitled to judgment as a matter of law. Sec.

  & Exch. Comm’n v. GenAudio Inc., 32 F.4th 902, 920–21 (10th Cir. 2022) (cleaned

  up); Fed. R. Civ. P. 56(a). To dispute a fact, the nonmovant must do more than

  simply show that there is some metaphysical doubt as to the facts. Champagne

  Metals v. Ken-Mac Metals, Inc., 458 F.3d 1073, 1084 (10th Cir. 2006). Instead, once

  the moving party has presented evidence in support of a fact, the nonmoving party

  has the burden of citing specific facts showing that there is a genuine issue for trial

  as to the fact. Ezell v. BNSF Ry. Co., 949 F.3d 1274, 1278 (10th Cir. 2020).

  Therefore, to establish a triable issue of fact on, for example, the prevalence of



                                               26
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 27 of
                                     46




  LCMs in the United States, Defendants would need to do more than merely deny

  Plaintiffs’ evidence that tens of millions (if not hundreds of millions) are owned by

  Americans. They would need to submit affirmative evidence that would rebut that

  fact (which they obviously cannot do).

  B.    Standard for Permanent Injunction

        For a party to obtain summary judgment for a permanent injunction, it must

  prove: (1) actual success on the merits; (2) irreparable harm unless the injunction is

  issued; (3) the threatened injury outweighs the harm that the injunction may cause

  the opposing party; and (4) the injunction, if issued, will not adversely affect the

  public interest. Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 822

  (10th Cir. 2007). The requirements for obtaining a permanent injunction are

  “remarkably similar” to those for obtaining a preliminary injunction. Ute Indian

  Tribe of the Uintah & Ouray Rsrv. v. Lawrence, 22 F.4th 892, 908 (10th Cir.) (citing

  Prairie Band Potawatomi Nation, supra). The only difference between the two is

  that a permanent injunction requires showing actual success on the merits; whereas

  a preliminary injunction requires showing a substantial likelihood of success on the

  merits. Id.

  V.    PLAINTIFFS SUCCEED ON THE MERITS

  A.    Legal Framework for Second Amendment Claims

        Bruen states that the appropriate test for applying the Second Amendment is:

  “[1] When the Second Amendment’s plain text covers an individual’s conduct, the

  Constitution presumptively protects that conduct. [2] The government must then



                                             27
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 28 of
                                     46




  justify its regulation by demonstrating that it is consistent with the Nation’s

  historical tradition of firearm regulation. Only then may a court conclude that the

  individual’s conduct falls outside the Second Amendment’s unqualified command.”

  Id., 142 S. Ct. at 2129-30 (internal citation and quotation omitted).

  B.      The Plain Text of the Second Amendment Covers Plaintiffs’ Conduct

          In Bruen, the issue under the first step was “whether the plain text of the

  Second Amendment protects … carrying handguns publicly for self-defense.” Id. at

  2134. In answering this question, Bruen analyzed only the “Second Amendment’s

  text,” applying ordinary interpretive principles. Id. at 2134–35. Because the word

  “bear” naturally encompasses public carry, the Court concluded that the conduct at

  issue (public carry) was protected by the plain text of the Second Amendment. Id. at

  2143.

          In this case, Plaintiffs desire to acquire and possess the banned AW Firearms

  and LCMs. Thus, the first issue is whether the plain text of the Second Amendment

  covers this conduct. The plain text provides: “A well regulated Militia, being

  necessary to the security of a free State, the right of the people to keep and bear Arms,

  shall not be infringed.” U.S. Const. amend. II. In Heller, the Court held that a

  handgun was an “arm” within the meaning of the Second Amendment. 554 U.S. at

  581, 628–29, 128 S.Ct. 2783. In reaching that conclusion, the Court began by noting

  that, as a general matter, the “18th-century meaning” of the term “arms” is “no

  different from the meaning today.” Id. at 581. Then, as now, the Court explained, the

  term generally referred to “[w]eapons of offence, or armour of defence.” Id. (cleaned



                                             28
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 29 of
                                     46




  up). The Court further noted that all relevant sources of the original public meaning

  of “arms” agreed that “all firearms constituted ‘arms’” within the then-understood

  meaning of that term. Id. And, just as the scope of protection afforded by other

  constitutional rights extends to modern variants, so too the Second Amendment

  “extends, prima facie, to all instruments that constitute bearable arms, even those

  that were not in existence at the time of the founding.” Id. at 582.

        Defendants have asserted that magazines are not “arms.” But numerous courts

  have held that LCMs are “arms” within the meaning of the Second Amendment. See

  Ass’n of New Jersey Rifle & Pistol Clubs, Inc. v. Att’y Gen. New Jersey, 910 F.3d 106,

  116 (3d Cir. 2018), abrogated on other grounds by Bruen (“ANJRPC”); Kolbe v. Hogan,

  813 F.3d 160, 175 (4th Cir. 2016), on reh’g en banc, 849 F.3d 114 (4th Cir. 2017); and

  Fyock v. Sunnyvale, 779 F.3d 991 (9th Cir. 2015). In ANJRPC, the Third Circuit

  addressed “the question [of] whether a magazine is an arm under the Second

  Amendment” and concluded “[t]he answer is yes.” Id. at 116. It reasoned that

  “[b]ecause magazines feed ammunition into certain guns, and ammunition is

  necessary for such a gun to function as intended, magazines are ‘arms’ within the

  meaning of the Second Amendment.” Id.

        A panel of the Fourth Circuit in Kolbe reasoned that because the Second

  Amendment plainly covers firearms, “there must also be an ancillary right to possess

  the magazines necessary to render those firearms operable.” 813 F.3d at 175. The

  panel found “strong historical support” for the notion that magazines constitute

  “arms” because “magazines and the rounds they contain are used to strike at another



                                            29
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 30 of
                                     46




  and inflict damages” and early American provisions protecting gun rights “suggest[ ]

  ‘arms’ should be read to protect all those items necessary to use the weapons

  effectively.” Id. at 175 (citation omitted). See also Fyock v. Sunnyvale, 779 F.3d 991,

  998 (9th Cir. 2015) (magazines necessary for many firearms to operate).

         After Bruen, lower courts have held the same. See Duncan v. Bonta, 2023 WL

  6180472, at *8 (S.D. Cal. Sept. 22, 2023)5 (magazine is arm); Nat’l Ass’n for Gun Rts.

  v. Lamont, 2023 WL 4975979, at *19 (D. Conn. Aug. 3, 2023) (same); Barnett v. Raoul,

  2023 WL 3160285, at *8 (S.D. Ill. Apr. 28, 2023) (same); Delaware State Sportsmen’s

  Ass’n, Inc. v. Delaware Dep’t of Safety & Homeland Sec., 2023 WL 2655150, at *7 (D.

  Del. Mar. 27, 2023) (same); and Hanson v. D.C., 2023 WL 3019777, at *6 (D.D.C. Apr.

  20, 2023) (same).

         These holdings that magazines are arms make perfect sense. The right to keep

  and bear arms protects those things necessary for its exercise. Luis v. United States,

  578 U.S. 5, 26 (2016) (Thomas, J., concurring). For example, in Jackson v. City and

  County of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014), the court held that the

  right to possess firearms implies a corresponding right to possess the components

  necessary to use them (specifically ammunition). As firearms expert Mark

  Passamaneck states, without a detachable magazine, operation of a semi-automatic

  firearm as a semi-automatic firearm is impossible. UMF 53. A magazine is not merely

  a box in which ammunition is stored. UMF 54. Rather, it is a dynamic component

  that performs a function in any semi-automatic firearm. Id. The magazine holds



  5 The preliminary injunctions entered in Duncan and Barnett have been stayed pending appeal.


                                                 30
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 31 of
                                     46




  cartridges under spring tension, and when a semi-automatic firearm is fired, the

  spring pushes another cartridge up for the bolt to push into the chamber so that it

  can be fired with the next pull of the trigger. UMF 55. If there is no magazine pushing

  cartridges up into the action, one by one, there is no ability to fire a subsequent

  cartridge due to a subsequent pull of the trigger, which is the defining characteristic

  of a semi-automatic weapon. UMF 56. Thus, without magazines as a designed

  dynamic component, semi-automatic firearms would not exist. UMF 57. This is the

  reason the Third Circuit held that magazines are “arms” in ANJRPC.

        Two lower courts have held that magazines are not arms. See Ocean State

  Tactical, LLC v. State of Rhode Island, 2022 WL 17721175 (D.R.I. 2022); and Oregon

  Firearms Fed’n, Inc. v. Brown, 2022 WL 17454829, *9 (D. Or. 2022). But as the

  district court stated in Nat’l Ass’n for Gun Rts. v. Lamont, 2023 WL 4975979, at *19

  (D. Conn. Aug. 3, 2023), these cases were wrongly decided because they ignore that

  under Bruen, a modern instrument that facilitates armed self-defense is an arm

  entitled to the prima facie protection of the Second Amendment.

        In Ocean State the court held that both ammunition and “parts” of weapons

  (such as triggers and magazines) are not arms as the word is used in the Second

  Amendment and therefore are completely devoid of constitutional protection. Id. at

  *13. With all due respect, this conclusion is obviously wrong. If Ocean State were

  correct, the Municipalities could completely disarm their residents by rendering all

  firearms useless. How? According to Ocean State, the Municipalities could make the

  possession of ammunition illegal. Moreover, while it could not make possession of an



                                            31
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 32 of
                                     46




  assembled firearm illegal, it could outlaw possession of each of its constituent parts.

  An interpretation of the Second Amendment that would effectively nullify the right

  to keep and bear firearms is obviously inconsistent with Bruen.

        The court’s analysis in Oregon Firearms fares no better. There, the court

  specifically acknowledged that “magazines in general are necessary to the use of

  firearms for self-defense.” Id., at *9. But then the court stated that since large

  capacity magazines specifically are not necessary to use a firearm, they are not

  covered by the plain text of the Second Amendment. Id. This makes no sense. If a

  magazine of a certain size is an arm covered by the plain text, how does increasing

  the capacity of that magazine by one round (and thus tipping it into the LCM

  category) make it not an arm? The Oregon Firearms court’s confusion results from

  confusing the first step of the Bruen test (text) with the second step (history). Under

  the first step, a magazine is a bearable arm and thus presumptively protected. Does

  this mean that Defendants cannot ban so-called “large capacity magazines”? Not

  necessarily. Just like any arm, if Defendants can demonstrate that a regulation

  banning large capacity magazines is “consistent with the Nation’s historical tradition

  of firearm regulation,” they can ban them (though, as discussed below, they cannot

  make such a demonstration).

        In summary, a magazine is necessary to make the Second Amendment right to

  fire a semi-automatic firearm effective. Therefore, magazines, in general, constitute

  bearable arms that are prima facie protected by the Second Amendment under step




                                            32
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 33 of
                                     46




  one (text) of the Bruen test. Whether magazines of a particular size can be banned is

  a different question that must be resolved under step two (history) of that test.

  C.    History and Tradition Support Banning Only Weapons that Are
        Unusual in Society at Large

        Plaintiffs have carried their burden of showing their conduct is covered by the

  plain text of the Second Amendment. The burden now shifts to Defendants to justify

  their regulations by demonstrating that they are consistent with the Nation’s

  historical tradition of firearm regulation. Bruen, 142 S. Ct. at 2129-30. In the context

  of a weapons ban, Heller held that a law absolutely banning a weapon commonly

  possessed   by    law-abiding    citizens   for   lawful   purposes   is   categorically

  unconstitutional. Heller, 554 U.S. at 631-32. The Court reached this conclusion

  because no regulation in the Founding era “remotely burden[ed] the right of self-

  defense as much as an absolute ban on” a commonly possessed firearm. Bruen, 142

  S. Ct. at 2128 (citing Heller, 554 U.S. at 631-32).

        Thus, under Heller and Bruen, the government cannot ban a weapon that is

  commonly possessed for lawful purposes. It follows that the government may

  absolutely ban a weapon only if it is not commonly possessed by law-abiding citizens

  for lawful purposes. In Heller, the Court identified two categories of weapons that

  meet this criterion: (1) dangerous and unusual weapons, and (2) sophisticated

  military arms that are highly unusual in society at large, such as machine guns,

  bombers, and tanks. Id. 554 U.S. at 627. In this case, Defendants may justify their

  absolute ban of AW Firearms and LCMs only if they demonstrate that these arms fall

  into one of these categories. Accordingly, while Plaintiffs have no obligation to

                                              33
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 34 of
                                     46




  demonstrate that the arms are in common use to carry their burden under Bruen’s

  first step, if they do make such a showing it will be impossible for Defendants to carry

  their burden under Bruen’s second step. This is so because if Plaintiffs make this

  showing, it will be impossible for Defendants to demonstrate that their absolute bans

  fall into either of the categories where such bans are constitutionally permitted.

          The County Ordinance bans only the acquisition, as opposed to the possession,

  of the commonly possessed arms. This distinction makes no difference. Bruen cited

  with approval the Third Circuit’s decision in Drummond v. Robinson Twp., 9 F.4th

  217 (3d Cir. 2021).6 In that case, the court held that the right to possess arms in

  common use implies a right to acquire such arms. 9 F.4th at 227, citing Ezell v. City

  of Chicago, 651 F.3d 684, 704 (7th Cir. 2011). Thus, banning the acquisition of

  commonly held arms is just as unconstitutional as banning their possession.

  D.      Defendants May Not Shift Their Burden onto Plaintiffs

          Defendants may argue that because Heller and Bruen held the Second

  Amendment protects only weapons that are in common use, Plaintiffs have the

  burden of proving the banned arms are in common use to establish they are protected.

  This is a misreading of those cases. It is true that in Bruen the Court noted that Heller

  held that the Second Amendment protects only weapons in common use. See Bruen,

  142 S. Ct. at 2143 (quoting Heller, 554 U.S. at 627). But the Court was careful to note

  that Heller reached this conclusion because under the Nation’s history and tradition




  6 Bruen, 142 S. Ct. at 2133.


                                             34
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 35 of
                                     46




  of firearms regulation, weapons in common use are protected and the two categories

  of unusual weapons discussed above are not. The Court wrote:

     [In Heller,] we found it ‘fairly supported by the historical tradition of
     prohibiting the carrying of ‘dangerous and unusual weapons’ that the Second
     Amendment protects the possession and use of weapons that are ‘in common
     use at the time.’

  Id., 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 627) (emphasis added).

  The Court also wrote:

     Drawing from this historical tradition, we explained there that the Second
     Amendment protects only the carrying of weapons that are those ‘in common
     use at the time,’ as opposed to those that are ‘highly unusual in society at
     large.’

  Id., 142 S. Ct. at 2143 (quoting Heller, 554 U.S. at 627) (emphasis added).

        Thus, in both passages where the Court noted that the Second Amendment

  protects only weapons that are in common use, it stated this is so because that rule

  is supported by historical tradition. Accordingly, whether an arm is in common use

  or, conversely, falls into one of the unprotected categories is addressed at the second

  Bruen step (history and tradition). The Ninth Circuit addressed this issue in Teter

  where it rejected Hawaii’s argument that dangerous and unusual weapons are not

  “arms.” The court wrote: “Heller itself stated that the relevance of a weapon’s

  dangerous and unusual character lies in the historical tradition of prohibiting the

  carrying of dangerous and unusual weapons.” 554 U.S. at 627 (emphasis added)

  (cleaned up). It did not say that dangerous and unusual weapons are not arms. Thus,

  whether butterfly knives are ‘dangerous and unusual’ is a contention as to which




                                            35
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 36 of
                                     46




  Hawaii bears the burden of proof in the second prong of the Bruen analysis.” Teter,

  76 F.4th at 949–50 (emphasis in original).

        Defendants’ argument confuses the difference between (1) conduct prima facie

  protected by the text and (2) the subset of that conduct that may be regulated

  consistent with the Nation’s history and traditions. This distinction is not unique to

  the Second Amendment. For example, on its face, the First Amendment prohibits all

  laws abridging freedom of speech. But that seemingly absolute guarantee sometimes

  yields to a regulation that is consistent with the Nation’s history and tradition of

  speech regulation. Thus, a law proscribing “true threats” does not violate the right to

  free speech because the Nation’s “historical and traditional” regulation of speech has

  countenanced such laws from “1791 to the present.” Counterman v. Colorado, 143 S.

  Ct. 2106, 2113–14 (2023). A “true threat” is not protected by the First Amendment,

  but no one would argue that because it is unprotected it is not “speech” in the first

  instance.

        Similarly, the plain text of the Second Amendment extends to all “arms.”

  Nevertheless, a prohibition on a “dangerous and unusual” weapon (such as a short-

  barreled shotgun) does not violate the Second Amendment because laws banning such

  weapons existed in 1791 and have been in place ever since. Heller, 554 U.S. at 627. A

  short-barreled shotgun is not protected by the Second Amendment, but no one would

  argue that because it is unprotected it is not a bearable arm in the first instance.

        In summary, the arms banned by the Municipalities are bearable arms, and

  the plain text of the Second Amendment extends, prima facie, to protect them. The



                                            36
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 37 of
                                     46




  Municipalities are free to argue that their arms bans are consistent with the

  Nation’s history and tradition of firearm regulation. But there is no reasonable

  argument that the AW Firearms and LCMs are not “arms” covered by the plain text

  in the first instance.

  E.     Common Use is Determined by Whether an Arm is Commonly
         Possessed by Law-Abiding Citizens

         Whether an arm is in common use is determined by whether it is commonly

  possessed by law-abiding citizens for lawful purposes. In Friedman v. City of

  Highland Park, Ill., 577 U.S. 1039 (2015), Justice Thomas, joined by Justice Scalia,

  put the matter as follows: “Roughly five million Americans own AR-style

  semiautomatic rifles … The overwhelming majority of citizens who own and use

  such rifles do so for lawful purposes … Under our precedents, that is all that is

  needed for citizens to have a right under the Second Amendment to keep such

  weapons.” Id. (Thomas, J., and Scalia, J., dissenting from denial of certiorari)

  (emphasis added). Thus, “all that is needed” for Plaintiffs to show that they have a

  right under the Second Amendment to keep AW Firearms and LCMs is to evidence

  that these arms are owned in the millions. Plaintiffs have shown this. UMF 61, 68.

  Indeed, Defendants’ expert agrees that tens of millions of AW Firearms are in

  circulation (UMF 64), several times more than the threshold cited by Justice

  Thomas.

         More recently, in Delaware State Sportsmen’s Ass’n, Inc. v. Delaware Dep’t of

  Safety & Homeland Sec., 2023 WL 2655150, at *8 (D. Del. Mar. 27, 2023), the court

  applied identical reasoning to determine whether LCMs (in that case defined as

                                            37
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 38 of
                                     46




  those having a capacity of over 17 rounds) are in common use. The court wrote:

  “There are currently tens of millions of rifle magazines that are lawfully possessed

  in the United States with capacities of more than seventeen rounds, including

  magazines for the AR-15 rifle … The AR-15 platform is capable of accepting

  standard magazines of 20 or 30 rounds and is typically sold with 30-round

  magazines … This is enough to show that LCMs are in common use for self-

  defense.” Id. at *8 (internal citations and quotation marks omitted; cleaned up).

        Numerous other courts have come to a similar conclusion. See, e.g., Duncan v.

  Bonta, 2023 WL 6180472, at *12 (S.D. Cal. Sept. 22, 2023) (millions of LCMs

  sufficient for common use); Barnett v. Raoul, 2023 WL 3160285, at *10 (S.D. Ill.

  Apr. 28, 2023) (tens of millions of AW Firearms and LCMs possessed sufficient to

  find common use); Miller v. Bonta, 2023 WL 6929336, at *33 (S.D. Cal. Oct. 19,

  2023) (tens of millions of AW Firearms sufficient); Caetano v. Massachusetts, 577

  U.S. 411, 420 (2016) (use measured by statistics on possession); Fyock, supra, 779

  F.3d at 998; ANJRPC, supra, 910 F.3d at 116; N.Y. State Rifle & Pistol Ass’n, Inc. v.

  Cuomo, 804 F.3d 242, 255 (2d Cir. 2015) (“Even accepting the most conservative

  estimates cited by the parties and by amici, the … large-capacity magazines at issue

  are ‘in common use’ as that term was used in Heller.”); and Heller v. D.C., 670 F.3d

  1244, 1261 (D.C. Cir. 2011).

  F.    It is Not Necessary for Citizens to Fire a Weapon to Use it

        Defendants will probably argue that Plaintiffs do not “use” their arms unless

  they actually fire them. This is a misreading of Heller and Bruen, as Plaintiff



                                            38
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 39 of
                                     46




  Gordon Madonna’s law enforcement experience illustrates. Mr. Madonna was a law

  enforcement officer for over 40 years. UMF 71. While during that time he

  discharged his weapon against a suspect only once, he was constantly armed for the

  purpose of both actual and possible confrontation. UMF 72, 73. Thus, he was always

  using his firearm for self-defense even when he was not discharging it. UMF 74.

        Thus, Defendants’ conception of “use” is cramped, because, as Mr. Madonna’s

  experience illustrates, “use” covers both the times a firearm is discharged as well as

  the possession of the firearm for a purpose even it is not actually fired. See Duncan

  v. Bonta, 2023 WL 6588623, at *10 (9th Cir. Oct. 10, 2023) (Bumatay, J.,

  dissenting). The same is true on the other side of the law. Criminal statutes do not

  require a firearm to be discharged in order for it to be “used” in a crime. See, e.g.,

  Smith v. United States, 508 U.S. 223 (1993). Defendants’ position is like saying a

  person does not use her seatbelt unless she crashes or she never used her alarm

  system if a burglar never set it off. The word “use” requires consideration of context.

  Bailey v. United States, 516 U.S. 137, 143 (1995) (someone can “use” a gun to

  protect his house while never having to “use” it). And in context it is clear that

  Heller, McDonald and Bruen all used the word “use” to mean possession with a

  purpose. This is obvious because none of the cases required empirical studies of

  actual use. It is also obvious, because that is what the cases actually said. Heller

  held that weapons “typically possessed by law-abiding citizens for lawful purposes,”

  are protected. 554 U.S. at 625 (emphasis added). In McDonald, the Court wrote that

  the right to keep and bear arms is valued “because the possession of firearms was



                                             39
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 40 of
                                     46




  thought to be essential for self-defense.” 561 U.S. at 787 (emphasis added). In

  Bruen, the Court wrote that the Second Amendment protects carrying weapons in

  common use. Id., 142 S. Ct. at 2143 (emphasis added).

  G.    The Banned Firearms Are in Common Use

        The parties do not dispute that there are tens of millions of AW Firearms in

  circulation in the United States. UMF 58-64. This is not even controversial, much

  less genuinely disputable, as many courts have held. See Barnett v. Raoul, 2023 WL

  3160285, at *10 (S.D. Ill. Apr. 28, 2023); and Miller v. Bonta, 2023 WL 6929336, at

  *35 (S.D. Cal. Oct. 19, 2023) (both citing the same 24 million NSSF statistic as Mr.

  Passamaneck and Dr. Klarevas); New York State Rifle & Pistol Ass'n, Inc. v. Cuomo,

  804 F.3d 242, 255 (2d Cir. 2015) (millions owned); Kolbe v. Hogan, 849 F.3d 114,

  128–29 (4th Cir. 2017), abrogated by Bruen (millions owned); United States v.

  Barber, 2023 WL 1073667, at *5 (E.D. Tex. Jan. 27, 2023) (most popular rifle in

  America); Kolbe v. Hogan, 849 F.3d 114, 153 (4th Cir. 2017), abrogated by Bruen

  (Traxler, J., dissenting) (“beyond any reasonable dispute” that millions are owned);

  Friedman v. City of Highland Park, Ill., 577 U.S. 1039, 136 S. Ct. 447, 449 (2015)

  (Thomas, J., dissenting) (millions owned).

        In summary, the AR-15 platform is the most popular rifle in America.

  UMF 65-66. See also Heller v. D.C., 670 F.3d 1244, 1287 (D.C. Cir. 2011)

  (Kavanaugh, J., dissenting) (with millions owned, the AR-15 is the most popular

  rifle). Thus, there can be no doubt that AW Firearms are in common use.




                                           40
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 41 of
                                     46




        And, as borne out by FBR statistics, they are used almost exclusively for

  lawful purposes. In the five years from 2015 to 2019, there were an average of

  14,556 murders per year in the United States. U.S. Dept. of Just., Expanded

  Homicide Data Table 8: Murder Victims by Weapon, 2015-2019, Crime in the United

  States, 2019, FBI (available at https://bit.ly/31WmQ1V). On average, rifles of all

  types (of which so-called “assault weapons” are a subset) were identified as the

  murder weapon in 315 (or 2.5%) of the murders per year. Id. By way of comparison,

  on average 669 people per year are murdered by “personal weapons” such as hands,

  fists, and feet. Id. Thus, according to FBI statistics, a murder victim is more than

  twice as likely to have been killed by hands and feet than by an “assault weapon.”

  Even in the counterfactual event that an assault weapon had been involved in each

  rifle-related murder from 2015 to 2019, an infinitesimal percentage of the

  approximately 24 million assault rifles in circulation in the United States during

  that time period (0.006%) would have been used for that unlawful purpose.

  H.    LCMs Are in Common Use

        There also does not appear to be any dispute that tens of millions of LCMs

  are in circulation. UMF 67-70. This too has been acknowledged by numerous courts.

  See Duncan v. Bonta, 2023 WL 6180472, at *4 (S.D. Cal. Sept. 22, 2023) (“millions of

  Americans across the country own large capacity magazines. ‘One estimate ... shows

  that ... civilians possessed about 115 million LCMs’”); Barnett v. Raoul, 2023 WL

  3160285, at *10 (S.D. Ill. Apr. 28, 2023) (hundreds of millions owned); Delaware

  State Sportsmen's Ass'n, Inc. v. Delaware Dep't of Safety & Homeland Sec., 2023



                                            41
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 42 of
                                     46




  WL 2655150, at *8 (D. Del. Mar. 27, 2023) (tens of millions owned); Kolbe v. Hogan,

  849 F.3d 114, 129 (4th Cir. 2017), abrogated by Bruen (75 million); Heller v. D.C.,

  670 F.3d 1244, 1261 (D.C. Cir. 2011); Delaware State Sportsmen's Ass'n, Inc. v.

  Delaware Dep't of Safety & Homeland Sec., 2023 WL 2655150, at *6 (D. Del. Mar.

  27, 2023) (millions owned); Ass'n of New Jersey Rifle & Pistol Clubs, Inc. v. Att'y

  Gen. New Jersey, 910 F.3d 106, 112 (3d Cir. 2018), abrogated by Bruen; Oregon

  Firearms Fed'n v. Kotek Oregon All. for Gun Safety, 2023 WL 4541027, at *10 (D.

  Or. July 14, 2023) (Millions of Americans today own LCMs); Wiese v. Becerra, 263 F.

  Supp. 3d 986, 991 (E.D. Cal. 2017); New York State Rifle & Pistol Ass'n, Inc. v.

  Cuomo, 804 F.3d 242, 255 (2d Cir. 2015); Fyock v. City of Sunnyvale, 25 F. Supp. 3d

  1267, 1275 (N.D. Cal. 2014), aff'd sub nom. Fyock v. Sunnyvale, 779 F.3d 991 (9th

  Cir. 2015).

  I.    Summary: AW Firearms and LCMs Are Protected by the Second
        Amendment

        The Bruen test has two steps: [1] “When the Second Amendment’s plain text

  covers an individual’s conduct, the Constitution presumptively protects that conduct.

  [2] The government must then justify its regulation by demonstrating that it is

  consistent with the Nation’s historical tradition of firearm regulation.” Id., 142 S. Ct.

  at 2129-30. The banned AW Firearms and LCMs are bearable arms presumptively

  protected under Bruen’s step one. It will be impossible for the Municipalities to carry

  their burden under step two (history and tradition). They cannot demonstrate that

  the banned arms fall into either of the two categories of “unusual” arms that under

  the Nation’s history and tradition may be subjected to an absolute ban, i.e. (1)

                                             42
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 43 of
                                     46




  dangerous and unusual weapons, and (2) sophisticated military arms that are highly

  unusual in society at large, such as machine guns, bombers, and tanks. It is beyond

  dispute that the banned arms are owned in the tens of millions. Therefore, under no

  reasonable interpretation of the word can they be considered “unusual.” In summary,

  this case is controlled by Heller. Like the handguns at issue in Heller, the AW

  Firearms and the LCMs are overwhelmingly chosen by American society for lawful

  purposes such as self-defense. See D.C. v. Heller, 554 U.S. 570, 628 (2008). The

  material facts are not genuinely disputed, and Plaintiffs have shown they will succeed

  on the merits as a matter of law.

  VI.   THE REMAINING INJUNCTION FACTORS FAVOR PLAINTIFFS

  A.    Plaintiffs Have Suffered Irreparable Harm

        Plaintiffs have established that they will prevail on the merits of their claim

  that the Ordinances violate the Second Amendment. Violation of constitutional rights

  per se constitutes irreparable injury. Elrod v. Burns, 427 U.S. 347, 373-74 (1976) (loss

  of constitutional freedom “for even minimal periods of time” unquestionably

  constitutes irreparable injury). Recently, the Ninth Circuit applied the Elrod

  principle in the Second Amendment context. Baird v. Bonta, 81 F.4th 1036, 1040 (9th

  Cir. 2023). In Baird, the court held that in cases involving a Second Amendment

  claim, a likelihood of success on the merits usually establishes irreparable harm. Id.,

  at 1048. Moreover, such a likelihood, “strongly tips the balance of equities and public

  interest in favor of granting” an injunction. Id. See also Ezell v. City of Chicago, 651

  F.3d 684, 699 (7th Cir. 2011) (also applying principle in Second Amendment context);



                                            43
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 44 of
                                     46




  and Free the Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 805 (10th Cir.

  2019) (“Most courts consider the infringement of a constitutional right enough and

  require no further showing of irreparable injury.”); and Aposhian v. Barr, 958 F.3d

  969, 990 (10th Cir. 2020) (collecting cases).


  B.        The Balance of Harms and Public Interest Factors Support Entry of
            Injunctive Relief

            Finally, the balance of harms and public interest factors 7 favor injunctive

  relief. A plaintiff’s likelihood of success on the merits of a Second Amendment claim

  tips the merged third and fourth factors decisively in his favor, because “public

  interest concerns are implicated when a constitutional right has been violated, [and]

  all citizens have a stake in upholding the Constitution.” Baird v. Bonta, 2023 WL

  5763345, at *4 (9th Cir. Sept. 7, 2023) (internal citation and quotation marks omitted;

  cleaned up). In Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 771 (10th Cir.

  2010), the Tenth Circuit held that when applying these factors courts must be

  mindful that even if a state is pursuing a legitimate goal (in that case deterring illegal

  immigration), it has no interest in doing so by unconstitutional means, because a

  state “does not have an interest in enforcing a law that is likely constitutionally

  infirm.” Id. “Moreover, the public interest will perforce be served by enjoining the

  enforcement of the invalid provisions of state law.” Id. (internal quotation marks and

  citation omitted). See also Utah Licensed Beverage Ass’n v. Leavitt, 256 F.3d 1061,




  7 These factors merge when the government is the opposing party. Nken v. Holder, 556 U.S. 418, 435

  (2009).

                                                  44
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 45 of
                                     46




  1076 (10th Cir. 2001) (public interest favors preliminarily enjoining state statutes

  likely to be held unconstitutional).

         Defendants may argue their arms bans should not be enjoined for “public

  safety” reasons. Plaintiffs disagree that the arms bans have any measurable effect on

  public safety. But even if they did, that fact would be irrelevant under Bruen. Indeed,

  the public safety argument is in effect a backdoor means-end test of the type rejected

  by Bruen. 142 S. Ct. at 2129 (rejecting means-end scrutiny in Second Amendment

  cases). “[T]he government may not simply posit that the regulation promotes an

  important interest [such as public safety]. Rather, the government must demonstrate

  that the regulation is consistent with this Nation’s historical tradition of firearm

  regulation.” Id., 142 S. Ct. at 2126. Bruen’s rejection of means-end scrutiny would be

  nullified if courts were to eschew such scrutiny while examining the merits of a

  Second Amendment claim, only to bring such scrutiny right back in when

  determining whether to grant a remedy for a constitutional violation. Moreover,

  “[w]hile the public has an interest in enforcing laws that promote safety or welfare,

  the public has no cognizable interest in enforcing laws that are unconstitutional.

  Indeed, the public interest is best served by preventing an unconstitutional

  enforcement.” Midwest Title Loans, Inc. v. Ripley, 616 F. Supp. 2d 897, 908 (S.D. Ind.

  2009), aff’d sub nom. Midwest Title Loans, Inc. v. Mills, 593 F.3d 660 (7th Cir. 2010)

  (cleaned up) (citing Newsom v. Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir.

  2003)).

  VII.   Conclusion



                                            45
Case No. 1:22-cv-02680-NYW-SKC Document 76 filed 10/20/23 USDC Colorado pg 46 of
                                     46




        For the foregoing reasons, Plaintiffs respectfully request the Court to enter

  summary judgment in their favor and enter an order permanently enjoining

  enforcement of the Ordinances.

  /s/ Barry K. Arrington
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                             CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2023, I electronically filed a true and
  correct copy of the foregoing with the Clerk of the Court using the CM/ECF system,
  which will send notification of such filing via email to parties of record.

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington




                                          46
